             Case 3:18-cv-15286-MAS-LHG Document 54 Filed 09/24/19 Page 1 of 1 PageID: 520




                          September 24, 2019

                          VIA ECF

                          The Honorable Michael A. Shipp, U.S.D.J.
                          U.S. District Court for the District of New Jersey
                          Clarkson S. Fisher Building and U.S. Courthouse
                          402 East State Street
                          Trenton, New Jersey 08608

                          Re: Northwestern Mutual Life Insurance Co., et al. v. Valeant Pharmaceuticals
Richard Hernandez             International, Inc., et al. Docket No. 3:18-cv-08705-MAS-LHG
Partner
T. 973-848-8615
F. 973-297-6615           Dear Judge Shipp:
rhernandez@mccarter.com
                          On behalf of all parties, enclosed please find a Stipulation and Proposed Order for
                          the Court’s consideration. If Your Honor finds the enclosed Order acceptable, the
                          parties respectfully request that it be entered.
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Four Gateway Center       Respectfully submitted,
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                          Richard Hernandez

                          Enclosure

                          cc: All Counsel of Record (via ECF)
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